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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0372V
                                    Filed: February 24, 2017
                                         UNPUBLISHED
*********************************
SOPHIA HERRERA,                                   *
                                                  *
                         Petitioner,              *
                v.                                *
                                                  *        Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *        Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
John Howie, Jr., Howie Law, P.C., Dallas, TX, for petitioner.
Camille Collett, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

       On March 23, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleged that she suffered Parsonage-Turner Syndrome
caused-in-fact by the influenza vaccination she received on September 23, 2013.
Petition at 1, ¶¶ 1, 16. On October 10, 2016, the undersigned issued a decision
awarding compensation to petitioner based on the parties’ stipulation. (ECF No. 27).

           On February 14, 2017, petitioner filed a motion for attorneys’ fees and costs.
    (ECF No. 31). Petitioner requests attorneys’ fees in the amount of $15,701.00 and
    attorneys’ costs in the amount of $645.25 for a total amount of $16,346.25. Id. at 1.
    In accordance with General Order #9, petitioner’s counsel represents that petitioner

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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    incurred no out-of-pocket expenses. Id. Additionally, in compliance with General
    Order #9, petitioner has filed a signed statement indicating she incurred no out-of-
    pocket expenses. See Attachment to Petitioner’s Motion for Attorneys’ Fees and
    Costs. On February 23, 2017, respondent filed a response to petitioner’s motion.
    (ECF No. 32).

            In his response, respondent states “[n]either the Vaccine Act nor Vaccine Rule
    13 contemplates any role for respondent in the resolution of a request by petitioner for
    an award of attorneys’ fees and costs.” Id. at 1. Respondent does state that he “is
    satisfied the statutory requirements for an award of attorneys’ fees and costs are met
    in this case.” Id. at 2. Respondent further states that the “Federal Circuit has also
    made clear that special masters may rely on their prior experience in making
    reasonable fee determinations, without conducting a line-by-line analysis of the fee
    bill, and are not required to rely on specific objections raised by respondent.” Id.
    Thus, respondent “respectfully recommends that the Chief Special Master exercise
    her discretion and determine a reasonable award for attorneys’ fees and costs in this
    case.” Id. at 3. Petitioner’s counsel indicated by email on February 23, 2017, copying
    respondent’s counsel on the correspondence, that petitioner did not wish to file a
    reply. See Informal Communication, dated Feb. 24, 2017.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

      Accordingly, the undersigned awards the total of $16,346.253 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
John Howie, Jr.

         The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master

3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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